               Case 14-17412-elf                       Doc 1              Filed 09/15/14 Entered 09/15/14 18:42:57                                                Desc Main
B1 (Official Form 1) (04/13)                                              Document      Page 1 of 54
                                               United States Bankruptcy Court
                                            EASTERN DISTRICT OF PENNSYLVANIA                                                                                      Voluntary Petition
                                                  PHILADELPHIA DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                            Name of Joint Debtor (Spouse) (Last, First, Middle):
Granacher, David L                                                                                    Granacher, Linda C

All Other Names used by the Debtor in the last 8 years                                                All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                           (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-6822                                                                 than one, state all):     xxx-xx-2858
Street Address of Debtor (No. and Street, City, and State):                                           Street Address of Joint Debtor (No. and Street, City, and State):
56 Ridge Ave                                                                                          56 Ridge Ave
Phoenixville, PA                                                                                      Phoenixville, PA
                                                                           ZIP CODE                                                                                         ZIP CODE
                                                                             19460                                                                                           19460
County of Residence or of the Principal Place of Business:                                            County of Residence or of the Principal Place of Business:
Chester                                                                                               Chester
Mailing Address of Debtor (if different from street address):                                         Mailing Address of Joint Debtor (if different from street address):



                                                                           ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                            ZIP CODE


                         Type of Debtor                                          Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                       (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                       Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                     Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                   in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                   Chapter 11
        Corporation (includes LLC and LLP)                                      Railroad
                                                                                                                                   Chapter 12                Chapter 15 Petition for Recognition
                                                                                Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                                Chapter 13
                                                                                Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                               Clearing Bank                                                         Nature of Debts
                                                                                Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                           Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                      (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                                Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                    under title 26 of the United States                individual primarily for a
against debtor is pending:                                                      Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                   hold purpose."
                              Filing Fee (Check one box.)                                             Check one box:                     Chapter 11 Debtors
                                                                                                              Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                              Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach           Check if:
        signed application for the court's consideration certifying that the debtor is                        Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                         insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                              on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                        A plan is being filed with this petition.
                                                                                                              Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                              of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                 THIS SPACE IS FOR
                                                                                                                                                                        COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-            5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000             10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001        $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million    to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001        $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million    to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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              Case 14-17412-elf                       Doc 1         Filed 09/15/14 Entered 09/15/14 18:42:57                                            Desc Main
B1 (Official Form 1) (04/13)                                        Document      Page 2 of 54                                                                                   Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    David L Granacher
                                                                                                                  Linda C Granacher
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Timothy E. Wilfong, Esquire                                    9/15/2014
                                                                                                 Timothy E. Wilfong, Esquire                                           Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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             Case 14-17412-elf                        Doc 1           Filed 09/15/14 Entered 09/15/14 18:42:57                                           Desc Main
B1 (Official Form 1) (04/13)                                          Document      Page 3 of 54                                                                                   Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     David L Granacher
                                                                                                                    Linda C Granacher
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ David L Granacher
      David L Granacher
                                                                                             X
       /s/ Linda C Granacher                                                                     (Signature of Foreign Representative)
 X    Linda C Granacher

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     9/15/2014
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Timothy E. Wilfong, Esquire                                                       defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Timothy E. Wilfong, Esquire                      Bar No. 208737                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Timothy E. Wilfong, Esquire
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 Law Office of Timothy E Wilfong LLC                                                         given the debtor notice of the maximum amount before preparing any document
 20 South Main Street                                                                        for filing for a debtor or accepting any fee from the debtor, as required in that
 Phoenixville, PA 19460                                                                      section. Official Form 19 is attached.


          (610) 247-1249
 Phone No.______________________        (610) 680-3910
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     9/15/2014
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)
                                                  Document      Page 4 of 54
                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                  PHILADELPHIA DIVISION
In re:   David L Granacher                                                               Case No.
         Linda C Granacher                                                                                    (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)
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                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                  PHILADELPHIA DIVISION
In re:   David L Granacher                                                            Case No.
         Linda C Granacher                                                                                 (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ David L Granacher
                       David L Granacher

Date:        9/15/2014
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                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                  PHILADELPHIA DIVISION
In re:   David L Granacher                                                               Case No.
         Linda C Granacher                                                                                    (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                  PHILADELPHIA DIVISION
In re:   David L Granacher                                                            Case No.
         Linda C Granacher                                                                                 (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:     /s/ Linda C Granacher
                       Linda C Granacher

Date:        9/15/2014
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B6A (Official Form 6A) (12/07)



In re David L Granacher                                                       Case No.
      Linda C Granacher                                                                                             (if known)



                                           SCHEDULE A - REAL PROPERTY


                                                                                                                 Current Value




                                                                                       Husband, Wife, Joint,
                                                                                                                  of Debtor's
                   Description and                           Nature of Debtor's




                                                                                         or Community
                                                                                                                   Interest in
                     Location of                            Interest in Property
                                                                                                               Property, Without    Amount Of
                      Property                                                                                                     Secured Claim
                                                                                                                Deducting Any
                                                                                                                Secured Claim
                                                                                                                 or Exemption


 56 Ridge Avenue, Phoenixville, PA 19460              Tenants by Entirety                 J                        $152,966.00       $234,762.13




                                                                                   Total:                          $152,966.00
                                                                                   (Report also on Summary of Schedules)
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In re David L Granacher                                                                     Case No.
      Linda C Granacher                                                                                        (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,
                                          None                                                                                              Without Deducting
             Type of Property                                     Description and Location of Property                                        any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Checking Bank Acct#****8975                                              J                       $1,500.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              All household goods and furnishings including: Couch,                    J                       $3,000.00
including audio, video and computer              Bedroom set, 3 TVs, Cell Phones, Laptop Computers
equipment.

5. Books; pictures and other art                 Baseball cards                                                           J                         $500.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Used Clothes                                                             J                         $900.00



7. Furs and jewelry.                             Misc jewelry                                                             J                         $500.00



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.              Group Term Life Insurance 6 times Salary. Wife is                        H                           $0.00
Name insurance company of each                   Beneficiary
policy and itemize surrender or
refund value of each.                            Group Term Life Insurance: Beneficiary of Husband's Policy.              W                           $0.00
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B6B (Official Form 6B) (12/07) -- Cont.
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In re David L Granacher                                                                      Case No.
      Linda C Granacher                                                                                          (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                      Husband, Wife, Joint,
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                        or Community
                                                                                                                                                 in Property,
                                           None                                                                                               Without Deducting
             Type of Property                                    Description and Location of Property                                           any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption


10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Federal Thrift Retirement Savings Plan                                    W                      $49,774.90
or other pension or profit sharing                Listed for disclosure purposes only: Not part of the
plans. Give particulars.                          bankruptcy estate or exempt.

                                                  Post Office Thrift Savings Plan                                           H                      $45,000.00
                                                  For informational purposes only: Not part of bankruptcy plan
                                                  or exempt.



13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
            Case 14-17412-elf              Doc 1        Filed 09/15/14 Entered 09/15/14 18:42:57                         Desc Main
B6B (Official Form 6B) (12/07) -- Cont.
                                                        Document      Page 11 of 54


In re David L Granacher                                                                      Case No.
      Linda C Granacher                                                                                            (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                                        Husband, Wife, Joint,
                                                                                                                                                Current Value of
                                                                                                                                                Debtor's Interest




                                                                                                                          or Community
                                                                                                                                                   in Property,
                                            None                                                                                                Without Deducting
             Type of Property                                     Description and Location of Property                                            any Secured
                                                                                                                                                     Claim or
                                                                                                                                                    Exemption


18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-                  Possibility that will receive inheritance from Uncle. Name of              H                        Unknown
dated claims of every nature,                      Uncle is John E Lehmann of Florida.
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
            Case 14-17412-elf             Doc 1          Filed 09/15/14 Entered 09/15/14 18:42:57                          Desc Main
B6B (Official Form 6B) (12/07) -- Cont.
                                                         Document      Page 12 of 54


In re David L Granacher                                                                       Case No.
      Linda C Granacher                                                                                              (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                      Description and Location of Property                                             any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


25. Automobiles, trucks, trailers,                   2007 Toyata Camry (101K Miles)                                             H                       $5,370.00
and other vehicles and accessories.
                                                     1995 Honda Accord (160K Miles)                                             H                         $355.00

                                                     2000 Nissan Altima (202K Miles)                                            H                         $472.00

                                                     1976 Ford F-100 (87K)                                                      H                         $700.00

                                                     2007 Yahmaha 1300 (30K Miles)                                              H                       $2,500.00



26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.


                                                                          3           continuation sheets attached   Total >                          $110,571.90
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
           Case 14-17412-elf               Doc 1       Filed 09/15/14 Entered 09/15/14 18:42:57                            Desc Main
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                                                       Document      Page 13 of 54


In re David L Granacher                                                                        Case No.
      Linda C Granacher                                                                                             (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
                Description of Property                                                                                          Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 56 Ridge Avenue, Phoenixville, PA 19460                 11 U.S.C. § 522(d)(1)                                       $0.00            $152,966.00

 Checking Bank Acct#****8975                             11 U.S.C. § 522(d)(5)                                  $1,500.00               $1,500.00

 All household goods and furnishings including:          11 U.S.C. § 522(d)(3)                                  $3,000.00               $3,000.00
 Couch, Bedroom set, 3 TVs, Cell Phones,
 Laptop Computers

 Baseball cards                                          11 U.S.C. § 522(d)(5)                                    $500.00                 $500.00

 Used Clothes                                            11 U.S.C. § 522(d)(3)                                    $900.00                 $900.00

 Misc jewelry                                            11 U.S.C. § 522(d)(4)                                    $500.00                 $500.00

 Group Term Life Insurance 6 times Salary. Wife          11 U.S.C. § 522(d)(7)                                       $0.00                      $0.00
 is Beneficiary

 Group Term Life Insurance: Beneficiary of               11 U.S.C. § 522(d)(11)(C)                                   $0.00                      $0.00
 Husband's Policy.

 Federal Thrift Retirement Savings Plan                  11 U.S.C. § 522(d)(12)                                $49,774.90              $49,774.90

 Listed for disclosure purposes only: Not part of
 the bankruptcy estate or exempt.

 Post Office Thrift Savings Plan                         11 U.S.C. § 522(d)(12)                                $45,000.00              $45,000.00

 For informational purposes only: Not part of
 bankruptcy plan or exempt.



* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                              $101,174.90             $254,140.90
            Case 14-17412-elf              Doc 1   Filed 09/15/14 Entered 09/15/14 18:42:57                    Desc Main
B6C (Official Form 6C) (4/13) -- Cont.
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In re David L Granacher                                                              Case No.
      Linda C Granacher                                                                               (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                       Continuation Sheet No. 1



                                                                                                                        Current
                                                                                                                   Value of Property
                                                        Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                 Exemption                     Exemption               Exemption



 Possibility that will receive inheritance from     11 U.S.C. § 522(d)(5)                           Unknown                Unknown
 Uncle. Name of Uncle is John E Lehmann of
 Florida.

 2007 Toyata Camry (101K Miles)                     11 U.S.C. § 522(d)(2)                          $3,675.00              $5,370.00

                                                    11 U.S.C. § 522(d)(5)                          $1,695.00

 1995 Honda Accord (160K Miles)                     11 U.S.C. § 522(d)(5)                            $355.00                $355.00

 2000 Nissan Altima (202K Miles)                    11 U.S.C. § 522(d)(5)                            $472.00                $472.00

 1976 Ford F-100 (87K)                              11 U.S.C. § 522(d)(5)                            $700.00                $700.00

 2007 Yahmaha 1300 (30K Miles)                      11 U.S.C. § 522(d)(5)                          $2,500.00              $2,500.00




                                                                                                 $110,571.90            $263,537.90
          Case 14-17412-elf            Doc 1                             Filed 09/15/14 Entered 09/15/14 18:42:57                                        Desc Main
                                                                         Document      Page 15 of 54
B6D (Official Form 6D) (12/07)
          In re David L Granacher                                                                                        Case No.
                 Linda C Granacher                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF         UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    10/2008
ACCT #: xxxxxxxxx4052                                                             NATURE OF LIEN:
                                                                                  Conventional Real Estate Mortgage
Rushmore Loan Management Services LLC                                             COLLATERAL:
                                                                                  56 Ridge Ave, Phoenixville, PA 19460                            $234,762.13         $81,796.13
Customer Service Department           J                                           REMARKS:
PO Box 55004
Irvine, CA 92619-5004


                                                                                  VALUE:                           $152,966.00




                                                                                                         Subtotal (Total of this Page) >            $234,762.13         $81,796.13
                                                                                                        Total (Use only on last page) >             $234,762.13          $81,796.13
________________continuation
       No                    sheets attached                                                                                                     (Report also on   (If applicable,
                                                                                                                                                 Summary of        report also on
                                                                                                                                                 Schedules.)       Statistical
                                                                                                                                                                   Summary of
                                                                                                                                                                   Certain Liabilities
                                                                                                                                                                   and Related
                                                                                                                                                                   Data.)
           Case 14-17412-elf                Doc 1        Filed 09/15/14 Entered 09/15/14 18:42:57                                Desc Main
                                                         Document      Page 16 of 54
B6E (Official Form 6E) (04/13)

In re David L Granacher                                                                           Case No.
      Linda C Granacher                                                                                                     (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       2                     sheets attached
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                                                                                  Document      Page 17 of 54
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In re David L Granacher                                                                                                  Case No.
      Linda C Granacher                                                                                                                         (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY      Taxes and Certain Other Debts Owed to Governmental Units




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                     UNLIQUIDATED
                                                                                                                      CONTINGENT
                                                          OR COMMUNITY
                                             CODEBTOR
            CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT        AMOUNT      AMOUNT




                                                                                                                       DISPUTED
             MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF        ENTITLED TO     NOT
           INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM       PRIORITY   ENTITLED TO
         AND ACCOUNT NUMBER                                                                                                                                 PRIORITY, IF
          (See instructions above.)                                                                                                                             ANY


ACCT #: N/A                                                                     DATE INCURRED:   12/31/2013
                                                                                CONSIDERATION:
Internal Revenue Service                                                        Income Tax                                            $752.00         $752.00        $0.00
PO Box 7346                                                                     REMARKS:
Philadelphia, PA 19101-7346                                     -




Sheet no. __________
               1       of __________
                               2       continuation sheets                                 Subtotals (Totals of this page) >          $752.00         $752.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                              Total >
                                      (Use only on last page of the completed Schedule E.
                                      Report also on the Summary of Schedules.)

                                                                                         Totals >
                                      (Use only on last page of the completed Schedule E.
                                      If applicable, report also on the Statistical Summary
                                      of Certain Liabilities and Related Data.)
            Case 14-17412-elf               Doc 1                                  Filed 09/15/14 Entered 09/15/14 18:42:57                           Desc Main
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B6E (Official Form 6E) (04/13) - Cont.
In re David L Granacher                                                                                                   Case No.
      Linda C Granacher                                                                                                                           (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   09/09/2014
                                                                                 CONSIDERATION:
Timothy E. Wilfong, Esquire                                                      Attorney Fees                                        $2,310.00       $2,310.00        $0.00
Law Office of Timothy E Wilfong LLC                                              REMARKS:
20 South Main Street                                             -
Phoenixville, PA 19460




Sheet no. __________
               2       of __________
                               2       continuation sheets                                  Subtotals (Totals of this page) >         $2,310.00       $2,310.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $3,062.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $3,062.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
          Case 14-17412-elf              Doc 1    Filed 09/15/14 Entered 09/15/14 18:42:57                                               Desc Main
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B6F (Official Form 6F) (12/07)
  In re David L Granacher                                                                                        Case No.
           Linda C Granacher                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                      DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                  UNLIQUIDATED
                MAILING ADDRESS                                                                        INCURRED AND                                CLAIM




                                                                                                                                   CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                    DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: xxxxxxxx2001                                                                  DATE INCURRED:   04/2014
                                                                                      CONSIDERATION:
American Education Services                                                           Education                                                     $8,163.00
P.O. Box 2461                                                                         REMARKS:
                                                                  -
Harrisburg, PA 17105-2461



ACCT #: xxxx-xxxx-xxxx-3727                                                           DATE INCURRED:   09/1999
                                                                                      CONSIDERATION:
Capital One Bank N.A.                                                                 Credit Card                                                   $1,373.00
Attn: Bankruptcy Dept.                                                                REMARKS:
                                                                  -
PO Box 30285
Salt Lake City, UT 84130-0285

ACCT #: xxxx-xxxx-xxxx-6337                                                           DATE INCURRED:   10/1999
                                                                                      CONSIDERATION:
Capital One Bank N.A.                                                                 Credit Card                                                     $831.00
Attn: Bankruptcy Dept.                                                                REMARKS:
                                                                  -
PO Box 30285
Salt Lake City, UT 84130-0285

ACCT #: xxxx-xxxx-xxxx-6306                                                           DATE INCURRED:   07/2005
                                                                                      CONSIDERATION:
Capital One Bank N.A.                                                                 Credit Card                                                     $737.00
Attn: Bankruptcy Dept.                                                                REMARKS:
                                                                  -
PO Box 30285
Salt Lake City, UT 84130-0285

ACCT #: xxxx-xxxx-xxxx-4020                                                           DATE INCURRED:   12/2005
                                                                                      CONSIDERATION:
Capital One Bank N.A.                                                                 Credit Card                                                     $467.00
Attn: Bankruptcy Dept.                                                                REMARKS:
                                                                  -
PO Box 30285
Salt Lake City, UT 84130-0285

ACCT #: xxxx-xxxx-xxxx-9185                                                           DATE INCURRED:   10/2000
                                                                                      CONSIDERATION:
Capital One Bank N.A.                                                                 Credit Card                                                     $361.00
Attn: Bankruptcy Dept.                                                                REMARKS:
                                                                  -
PO Box 30285
Salt Lake City, UT 84130-0285

                                                                                                                              Subtotal >            $11,932.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
           Case 14-17412-elf              Doc 1       Filed 09/15/14 Entered 09/15/14 18:42:57                                               Desc Main
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B6F (Official Form 6F) (12/07) - Cont.
  In re David L Granacher                                                                                            Case No.
           Linda C Granacher                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-8232                                                               DATE INCURRED:   03/2006
                                                                                          CONSIDERATION:
Capital One Bank N.A.                                                                     Credit Card                                                   $1,565.00
Attn: Bankruptcy Dept.                                                                    REMARKS:
                                                                      -
PO Box 30285
Salt Lake City, UT 84130-0285

ACCT #: xxxx-xxxx-xxxx-1566                                                               DATE INCURRED:   04/2007
                                                                                          CONSIDERATION:
Capital One Bank N.A.                                                                     Credit Card                                                     $977.00
Attn: Bankruptcy Dept.                                                                    REMARKS:
                                                                      -
PO Box 30285
Salt Lake City, UT 84130-0285

ACCT #: xxxxxxxxxxxx1920                                                                  DATE INCURRED:   01/2014
                                                                                          CONSIDERATION:
Comenity Bank                                                                             Unsecured                                                       $212.00
PO Box 182125                                                                             REMARKS:
                                                                      -
Columbus, OH 43218-2125



ACCT #: xxxx5275                                                                          DATE INCURRED:   Unknown
                                                                                          CONSIDERATION:
Credit Collections                                                                        Unknown Loan Type                                               $240.00
Po Box 9136                                                                               REMARKS:
                                                                      -
Needham, MA 02494



ACCT #: xxxxxxxxxxxx2819                                                                  DATE INCURRED:   03/2006
                                                                                          CONSIDERATION:
GE Capital Retail Bank                                                                    Charge Card                                                   $1,494.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
PO Box 103104                                                                             Walmart
Roswell, GA 30076

ACCT #: xxxxxxxxxxxx3766                                                                  DATE INCURRED:   10/2001
                                                                                          CONSIDERATION:
Kohls                                                                                     Charge Card                                                     $505.00
Po Box 3043                                                                               REMARKS:
                                                                      -
Milwaukee, WI 53201-3043



Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                              Subtotal >             $4,993.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
           Case 14-17412-elf              Doc 1       Filed 09/15/14 Entered 09/15/14 18:42:57                                               Desc Main
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B6F (Official Form 6F) (12/07) - Cont.
  In re David L Granacher                                                                                            Case No.
           Linda C Granacher                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxx7213                                                                        DATE INCURRED:   01/2014
                                                                                          CONSIDERATION:
Midland Funding                                                                           Factoring Company Account                                      $3,899.00
8875 Aero Dr Ste 200                                                                      REMARKS:
                                                                      -
San Diego, CA 92123



ACCT #: xxxxxxxxxxxxxxxxxxx0131                                                           DATE INCURRED:   01/2007
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Educational                                                   $49,059.00
Attn: Claims Department                                                                   REMARKS:
                                                                      -
PO Box 9500
Wilkes-Barre, PA 18773

ACCT #: xxxxxxxxxxxx4660                                                                  DATE INCURRED:   02/1999
                                                                                          CONSIDERATION:
Sears                                                                                     Charge Account                                                  $107.00
Po Box 6189                                                                               REMARKS:
                                                                      -
Sioux Falls, SD 57117




 Representing:                                                                            Sears Card General Inquiries                                 Notice Only
 Sears                                                                                    PO Box 6283
                                                                                          Sioux Falls, SD 57117



ACCT #: xxxxxxxxxxxxx6385                                                                 DATE INCURRED:   11/2012
                                                                                          CONSIDERATION:
Springleaf Financial                                                                      Secured                                                        $5,004.00
2190 E High St                                                                            REMARKS:
                                                                      -
Pottstown, PA 19464




 Representing:                                                                            Springleaf                                                   Notice Only
 Springleaf Financial                                                                     Suburbia Shopping Center
                                                                                          34 Glocker Way
                                                                                          Pottstown, PA 19465-9655


Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                              Subtotal >             $58,069.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
           Case 14-17412-elf              Doc 1       Filed 09/15/14 Entered 09/15/14 18:42:57                                                Desc Main
                                                      Document      Page 22 of 54
B6F (Official Form 6F) (12/07) - Cont.
  In re David L Granacher                                                                                             Case No.
           Linda C Granacher                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 3911                                                                              DATE INCURRED:   Various
                                                                                          CONSIDERATION:
US Dept of Education                                                                      Educational                                                    $18,774.92
400 Maryland Avenue, SW                                                                   REMARKS:
                                                                      -
Washington, D.C. 20202




 Representing:                                                                            ConServe                                                      Notice Only
 US Dept of Education                                                                     200 CrossKeys Office Park
                                                                                          Fairport, NY 14450



ACCT #: xxxx5320                                                                          DATE INCURRED:   08/2008
                                                                                          CONSIDERATION:
US Dept of Eduction                                                                       Educational                                                    $14,882.00
400 Maryland Avenue, SW                                                                   REMARKS:
                                                                      -
Washington, D.C. 20202



ACCT #: xxxxxxxxx3070                                                                     DATE INCURRED:   09/1993
                                                                                          CONSIDERATION:
Verizon                                                                                   Phone                                                            $453.00
PO Box 11328                                                                              REMARKS:
                                                                      -
St Petersburg, FL 33733-1328



ACCT #: xxxxxxxxxxxx6427                                                                  DATE INCURRED:   11/2013
                                                                                          CONSIDERATION:
Webbank - Fingerhut                                                                       Charge Account                                                   $220.00
6250 Ridgewood Roa                                                                        REMARKS:
                                                                      -
Saint Cloud, MN 56303




 Representing:                                                                            Fingerhut                                                     Notice Only
 Webbank - Fingerhut                                                                      PO Box 166
                                                                                          Newark, NJ 07101-0166



Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                               Subtotal >             $34,329.92
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                      $109,323.92
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
           Case 14-17412-elf            Doc 1      Filed 09/15/14 Entered 09/15/14 18:42:57                          Desc Main
B6G (Official Form 6G) (12/07)
                                                   Document      Page 23 of 54
   In re David L Granacher                                                              Case No.
         Linda C Granacher                                                                              (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
            Case 14-17412-elf                Doc 1       Filed 09/15/14 Entered 09/15/14 18:42:57                                Desc Main
B6H (Official Form 6H) (12/07)
                                                         Document      Page 24 of 54
In re David L Granacher                                                                            Case No.
      Linda C Granacher                                                                                                    (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
          Case 14-17412-elf                Doc 1      Filed 09/15/14 Entered 09/15/14 18:42:57                                         Desc Main
                                                      Document      Page 25 of 54
 Fill in this information to identify your case:
     Debtor 1              David                L                      Granacher
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Linda                C                      Granacher                                An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Post Office                                        Clerk
      Include part-time, seasonal,
      or self-employed work.            Employer's name        U.S.Post Office                                    Veteran's Center

      Occupation may include            Employer's address     1000 W Valley Rd                                   801 Arch Street Suite 502
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Southeastern                 PA       19399        Philadelphia           PA      19107
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        20                                                30


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $4,560.26             $2,717.70
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $4,560.26             $2,717.70




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
         Case 14-17412-elf                            Doc 1            Filed 09/15/14 Entered 09/15/14 18:42:57                                                   Desc Main
Debtor 1 David                                L
                                                                       Document
                                                                            Granacher
                                                                                      Page 26 of 54Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $4,560.26           $2,717.70
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $930.63                   $567.13
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.               $29.00                     $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                     $0.00
     5e. Insurance                                                                                          5e.                $0.00                   $249.12
     5f. Domestic support obligations                                                                       5f.                $0.00                     $0.00
     5g. Union dues                                                                                         5g.               $40.35                    $26.11
     5h. Other deductions.
          Specify: Voluntary Life Insurance                                                                 5h. +            $200.00                      $0.00
6.   Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $1,199.98                    $842.36
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $3,360.28                  $1,875.34
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                    $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00                    $0.00
     8e. Social Security                                                                                    8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                    $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $3,360.28          +       $1,875.34       =       $5,235.62
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $5,235.62
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                         Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form B 6I                                                               Schedule I: Your Income                                                                          page 2
          Case 14-17412-elf              Doc 1           Filed 09/15/14 Entered 09/15/14 18:42:57                                 Desc Main
                                                         Document      Page 27 of 54
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              David                  L                      Granacher                           An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Linda                  C                      Granacher
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF PENNSYLVANIA                               MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            21
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.                                                          Daughter                            24
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,910.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $150.00

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
        Case 14-17412-elf                  Doc 1     Filed 09/15/14 Entered 09/15/14 18:42:57                Desc Main
Debtor 1 David                      L
                                                     Document
                                                          Granacher
                                                                    Page 28 of 54Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                      Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                 5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                         6a.                   $340.00
     6b. Water, sewer, garbage collection                                                       6b.                   $110.00
     6c. Telephone, cell phone, Internet, satellite, and                                        6c.                   $140.00
         cable services
     6d. Other. Specify:       Cell Phone                                                       6d.                   $140.00
7.   Food and housekeeping supplies                                                             7.                    $800.00
8.   Childcare and children's education costs                                                   8.

9.   Clothing, laundry, and dry cleaning                                                        9.                    $150.00
10. Personal care products and services                                                         10.                    $50.00
11. Medical and dental expenses                                                                 11.                    $40.00
12. Transportation. Include gas, maintenance, bus or train                                      12.                   $525.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                               13.                   $200.00
    magazines, and books
14. Charitable contributions and religious donations                                            14.                    $20.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                     15a.

     15b.    Health insurance                                                                   15b.

     15c.    Vehicle insurance                                                                  15c.                  $240.00
     15d.    Other insurance. Specify:                                                          15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                    16.                    $80.00
17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                         17a.

     17b.    Car payments for Vehicle 2                                                         17b.

     17c.    Other. Specify:                                                                    17c.

     17d.    Other. Specify:                                                                    17d.

18. Your payments of alimony, maintenance, and support that you did not report as               18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                    19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                        20a.

     20b.    Real estate taxes                                                                  20b.

     20c.    Property, homeowner's, or renter's insurance                                       20c.

     20d.    Maintenance, repair, and upkeep expenses                                           20d.

     20e.    Homeowner's association or condominium dues                                        20e.


 Official Form B 6J                                         Schedule J: Your Expenses                                    page 2
       Case 14-17412-elf               Doc 1        Filed 09/15/14 Entered 09/15/14 18:42:57                            Desc Main
Debtor 1 David                    L
                                                    Document
                                                         Granacher
                                                                   Page 29 of 54Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify: Pet Food                                                                                 21.    +          $40.00
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.             $4,935.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.            $5,235.62
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –        $4,935.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.             $300.62

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                                 page 3
           Case 14-17412-elf             Doc 1          Filed 09/15/14 Entered 09/15/14 18:42:57                Desc Main
B 6 Summary (Official Form 6 - Summary) (12/13)
                                                        Document      Page 30 of 54
                                             UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF PENNSYLVANIA
                                                   PHILADELPHIA DIVISION
   In re David L Granacher                                                           Case No.
         Linda C Granacher
                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes       1               $152,966.00


 B - Personal Property                            Yes       4               $110,571.90

 C - Property Claimed                             Yes       2
     as Exempt
 D - Creditors Holding                            Yes       1                                       $234,762.13
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes       3                                          $3,062.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes       4                                       $109,323.92
     Nonpriority Claims
 G - Executory Contracts and                      Yes       1
    Unexpired Leases

 H - Codebtors                                    Yes       1


 I - Current Income of                            Yes       2                                                                $5,235.62
     Individual Debtor(s)

 J - Current Expenditures of                      Yes       3                                                                $4,935.00
    Individual Debtor(s)

                                             TOTAL          22              $263,537.90             $347,148.05
           Case 14-17412-elf             Doc 1     Filed 09/15/14 Entered 09/15/14 18:42:57                      Desc Main
B 6 Summary (Official Form 6 - Summary) (12/13)
                                                   Document      Page 31 of 54
                                             UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF PENNSYLVANIA
                                                   PHILADELPHIA DIVISION
   In re David L Granacher                                                            Case No.
         Linda C Granacher
                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                        $752.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                  $90,878.92

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $91,630.92

State the following:

 Average Income (from Schedule I, Line 12)                                     $5,235.62

 Average Expenses (from Schedule J, Line 22)                                   $4,935.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $7,277.96

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $81,796.13

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $3,062.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $109,323.92

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $191,120.05
          Case 14-17412-elf             Doc 1       Filed 09/15/14 Entered 09/15/14 18:42:57                       Desc Main
                                                    Document      Page 32 of 54
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re David L Granacher                                                                Case No.
      Linda C Granacher                                                                                      (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 24
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 9/15/2014                                               Signature    /s/ David L Granacher
                                                                         David L Granacher

Date 9/15/2014                                               Signature     /s/ Linda C Granacher
                                                                          Linda C Granacher
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
            Case 14-17412-elf                Doc 1        Filed 09/15/14 Entered 09/15/14 18:42:57                                  Desc Main
                                                          Document      Page 33 of 54
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF PENNSYLVANIA
                                                       PHILADELPHIA DIVISION
   In re:   David L Granacher                                                                        Case No.
            Linda C Granacher                                                                                                (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $61,942.57                  2014 - YTD - Employment Income

        $98,016.00                  2013 - Employment Income

        $96,128.00                  2012 - Employment Income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF PENNSYLVANIA
                                                      PHILADELPHIA DIVISION
   In re:   David L Granacher                                                                     Case No.
            Linda C Granacher                                                                                             (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                            COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING             AND LOCATION                    DISPOSITION
        NRZ Pass-Through Trust I, U.S.                Foreclosure                      Chester County Court            Sheriff's Sale Pending
        Bank, National Association, as                                                 of Common Pleas                 9-18-2014
        Trustee v. Linda & David
        Granacher

        14-9-744

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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   In re:   David L Granacher                                                                      Case No.
            Linda C Granacher                                                                                              (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Timothy E. Wilfong, Esquire                                   09/09/2014                       Legal Fee $1,190.00
        Law Office of Timothy E Wilfong LLC                                                            Filing Fee $310.00
        20 South Main Street                                                                           Credit Counseling $25.00
        Phoenixville, PA 19460

        In Charge Credit Counseling

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
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                                                       PHILADELPHIA DIVISION
   In re:   David L Granacher                                                                       Case No.
            Linda C Granacher                                                                                              (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.
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   In re:   David L Granacher                                                                         Case No.
            Linda C Granacher                                                                                                  (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.
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                                                       PHILADELPHIA DIVISION
   In re:   David L Granacher                                                                         Case No.
            Linda C Granacher                                                                                                 (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 9/15/2014                                                          Signature          /s/ David L Granacher
                                                                        of Debtor          David L Granacher

Date 9/15/2014                                                          Signature       /s/ Linda C Granacher
                                                                        of Joint Debtor Linda C Granacher
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF PENNSYLVANIA
                                              PHILADELPHIA DIVISION
In re David L Granacher                                                                     Case No.
      Linda C Granacher
                                                                                            Chapter            13



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

David L Granacher                                                     X    /s/ David L Granacher                             9/15/2014
Linda C Granacher                                                         Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                      X    /s/ Linda C Granacher                             9/15/2014
Case No. (if known)                                                       Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,         Timothy E. Wilfong, Esquire                , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Timothy E. Wilfong, Esquire
Timothy E. Wilfong, Esquire, Attorney for Debtor(s)
Bar No.: 208737
Timothy E. Wilfong, Esquire
Law Office of Timothy E Wilfong LLC
20 South Main Street
Phoenixville, PA 19460
Phone: (610) 247-1249
Fax: (610) 680-3910
E-Mail: timwilfongesquire@gmail.com




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                          EASTERN DISTRICT OF PENNSYLVANIA
                                                PHILADELPHIA DIVISION
IN RE:     David L Granacher                                                             CASE NO
           Linda C Granacher
                                                                                         CHAPTER      13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $3,500.00
     Prior to the filing of this statement I have received:                                        $1,190.00
     Balance Due:                                                                                  $2,310.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       9/15/2014                              /s/ Timothy E. Wilfong, Esquire
                         Date                                 Timothy E. Wilfong, Esquire                Bar No. 208737
                                                              Timothy E. Wilfong, Esquire
                                                              Law Office of Timothy E Wilfong LLC
                                                              20 South Main Street
                                                              Phoenixville, PA 19460
                                                              Phone: (610) 247-1249 / Fax: (610) 680-3910
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                                      EASTERN DISTRICT OF PENNSYLVANIA
                                            PHILADELPHIA DIVISION
  IN RE:   David L Granacher                                                       CASE NO
           Linda C Granacher
                                                                                   CHAPTER    13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/15/2014                                           Signature    /s/ David L Granacher
                                                                     David L Granacher



Date 9/15/2014                                           Signature    /s/ Linda C Granacher
                                                                     Linda C Granacher
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                        American Education Services
                        P.O. Box 2461
                        Harrisburg, PA 17105-2461



                        Capital One Bank N.A.
                        Attn: Bankruptcy Dept.
                        PO Box 30285
                        Salt Lake City, UT 84130-0285


                        Comenity Bank
                        PO Box 182125
                        Columbus, OH 43218-2125



                        ConServe
                        200 CrossKeys Office Park
                        Fairport, NY 14450



                        Credit Collections
                        Po Box 9136
                        Needham, MA 02494



                        Fingerhut
                        PO Box 166
                        Newark, NJ 07101-0166



                        GE Capital Retail Bank
                        Attn: Bankruptcy
                        PO Box 103104
                        Roswell, GA 30076


                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346



                        Kohls
                        Po Box 3043
                        Milwaukee, WI 53201-3043
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                        Midland Funding
                        8875 Aero Dr Ste 200
                        San Diego, CA 92123



                        Rushmore Loan Management Services LLC
                        Customer Service Department
                        PO Box 55004
                        Irvine, CA 92619-5004


                        Sallie Mae
                        Attn: Claims Department
                        PO Box 9500
                        Wilkes-Barre, PA 18773


                        Sears
                        Po Box 6189
                        Sioux Falls, SD 57117



                        Sears Card General Inquiries
                        PO Box 6283
                        Sioux Falls, SD 57117



                        Springleaf
                        Suburbia Shopping Center
                        34 Glocker Way
                        Pottstown, PA 19465-9655


                        Springleaf Financial
                        2190 E High St
                        Pottstown, PA 19464



                        Timothy E. Wilfong, Esquire
                        Law Office of Timothy E Wilfong LLC
                        20 South Main Street
                        Phoenixville, PA 19460


                        US Dept of Education
                        400 Maryland Avenue, SW
                        Washington, D.C. 20202
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                        US Dept of Eduction
                        400 Maryland Avenue, SW
                        Washington, D.C. 20202



                        Verizon
                        PO Box 11328
                        St Petersburg, FL 33733-1328



                        Webbank - Fingerhut
                        6250 Ridgewood Roa
                        Saint Cloud, MN 56303
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B 22C (Official Form 22C) (Chapter 13) (04/13)                      According to the calculations required by this statement:
In re: David L Granacher                                                The applicable commitment period is 3 years.
       Linda C Granacher                                                The applicable commitment period is 5 years.
                                                                        Disposable income is determined under § 1325(b)(3).
Case Number:
                                                                        Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)
                    CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
              AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                    Part I. REPORT OF INCOME
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
       b.       Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
       All figures must reflect average monthly income received from all sources, derived
 1                                                                                                        Column A          Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six
                                                                                                           Debtor's         Spouse's
       months, you must divide the six-month total by six, and enter the result on the
                                                                                                            Income            Income
       appropriate line.
 2     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $4,560.26         $2,717.70
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on
 3     an attachment. Do not enter a number less than zero. Do not include any part of the
       business expenses entered on Line b as a deduction in Part IV.
         a.   Gross receipts                                              $0.00              $0.00
         b.   Ordinary and necessary business expenses                    $0.00              $0.00
         c. Business income                                       Subtract Line b from Line a                      $0.00             $0.00
       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
       Do not include any part of of the operating expenses entered on Line b as a deduction
 4     in Part IV.
         a. Gross receipts                                               $0.00            $0.00
         b. Ordinary and necessary operating expenses                    $0.00            $0.00
         c. Rent and other real property income                    Subtract Line b from Line a                     $0.00             $0.00
 5     Interest, dividends, and royalties.                                                                         $0.00             $0.00
 6     Pension and retirement income.                                                                              $0.00             $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 7     that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by the debtor's spouse. Each regular payment should be reported in only one
       column; if a payment is listed in Column A, do not report that payment in Column B.                         $0.00             $0.00
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
       However, if you contend that unemployment compensation received by you or your
 8
       spouse was a benefit under the Social Security Act, do not list the amount of such
       compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                         $0.00              $0.00                    $0.00             $0.00
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Total and enter on Line 9. Do not include alimony or
       separate maintenance payments paid by your spouse, but include all other payments
       of alimony or separate maintenance. Do not include any benefits received under the
       the Social Security Act or payments received as a victim of a war crime, crime against
 9
       humanity, or as a victim of international or domestic terrorism.

         a.
         b.
                                                                                                                   $0.00             $0.00



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 10    Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2                    $4,560.26         $2,717.70
       through 9 in Column B. Enter the total(s).
       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
 11    and enter the total. If Column B has not been completed, enter the amount from Line 10,                           $7,277.96
       Column A.

                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
 12    Enter the amount from Line 11.                                                                                            $7,277.96
       Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
 13    calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
       spouse, enter on Line 13 the amount of income listed in Line 10, Column B that was NOT paid on a
       regular basis for the household expenses of you or your dependents and specify, in the lines below, the
       basis for excluding this income (such as payment of the spouse's tax liability or the spouse's support of
       persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
       purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
       adjustment do not apply, enter zero.

         a.
         b.
         c.
       Total and enter on Line 13.                                                                                                   $0.00
 14    Subtract Line 13 from Line 12 and enter the result.                                                                       $7,277.96
       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
 15                                                                                                                            $87,335.52
       and enter the result.
       Applicable median family income. Enter the median family income for applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 16    court.)

       a. Enter debtor's state of residence:    Pennsylvania          b. Enter debtor's household size:            4           $83,162.00
       Application of § 1325(b)(4). Check the applicable box and proceed as directed.
              The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is
 17           3 years" at the top of page 1 of this statement and continue with this statement.

              The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period
              is 5 years" at the top of page 1 of this statement and continue with this statement.

                Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
 18    Enter the amount from Line 11.                                                                                            $7,277.96

       Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
 19    of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
       expenses of the debtor or the debtor's dependents. Specify in the lines below the basis for excluding the
       Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
       than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
       necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment
       do not apply, enter zero.

         a.
         b.
         c.
       Total and enter on Line 19.                                                                                                   $0.00




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 20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                        $7,277.96

       Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
 21
       and enter the result.                                                                                             $87,335.52

 22    Applicable median family income. Enter the amount from Line 16.                                                   $83,162.00
       Application of § 1325(b)(3). Check the applicable box and proceed as directed.
          The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined
 23       under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
            The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
            determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT
            COMPLETE PARTS IV, V, OR VI.


                                Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                       Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, apparel and services, housekeeping supplies, personal care, and
       miscellaneous. Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living
 24A   Expenses for the applicable number or persons. (This information is available at www.usdoj.gov/ust/ or
       from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
       currently be allowed as exemptions on your federal income tax return, plus the number of any additional
       dependents whom you support.                                                                                        $1,482.00
       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
       Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
       for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
       persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are
       65 years of age or older. (The applicable number of persons in each age category is the number in that
       category that would currently be allowed as exemptions on your federal income tax return, plus the number
       of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
       persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
 24B   persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
       amount, and enter the result in Line 24B.

         Persons under 65 years of age                             Persons 65 years of age or older

         a1.   Allowance per person                   $60.00       a2.   Allowance per person                  $144.00

         b1.   Number of persons                            4      b2.   Number of persons
         c1.   Subtotal                              $240.00       c2.   Subtotal                                $0.00        $240.00
       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 25A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.                                             $717.00




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       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support); enter on Line b the total of
 25B   the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b
       from Line a and enter the result in Line 25B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Housing and Utilities Standards; mortgage/rent expense                                       $2,141.00
         b.   Average Monthly Payment for any debts secured by your home, if
              any, as stated in Line 47                                                                        $1,908.00

         c.   Net mortgage/rental expense                                               Subtract Line b from Line a.            $233.00
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
       and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
 26    Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 27A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 7.       0      1       2 or more.
       If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)                                                                                                $998.00

       Local Standards: transportation; additional public transportation expense.
       If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
 27B   you are entitled to an additional deduction for your public transportation expenses, enter on Line 27B the
       "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                             $0.00




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       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)            1       2 or more.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
 28    Line a and enter the result in Line 28. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.
       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 28.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
 29    Line a and enter the result in Line 29. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 30    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR                         $1,571.63
       SALES TAXES.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       deductions that are required for your employment, such as mandatory retirement contributions, union
 31    dues, and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY                                        $81.13
       401(K) CONTRIBUTIONS.

       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 32    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR                                    $247.00
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 49.                                           $0.00

       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of
 34    employment and for education that is required for a physically or mentally challenged dependent child for                $0.00
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 35    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER                                   $0.00
       EDUCATIONAL PAYMENTS.
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 36    on health care that is required for the health and welfare of yourself or your dependents, that is not                   $0.00
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 24B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 39.
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
       you actually pay for telecommunication services other than your basic home telephone and cell phone
 37    service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent             $50.00
       necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
       PREVIOUSLY DEDUCTED.

 38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                $5,619.76



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                                      Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 24-37
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.

         a.   Health Insurance                                                                         $210.62
 39
         b.   Disability Insurance                                                                       $0.00
         c.   Health Savings Account                                                                     $0.00

       Total and enter on Line 39                                                                                             $210.62

       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 40    elderly, chronically ill, or disabled member of your household or member of your immediate family who is                 $0.00
       unable to pay for such expenses. DO NOT INCLUDE PAYMENTS LISTED IN LINE 34.

       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
 41    you actually incur to maintain the safety of your family under the Family Violence Prevention and Services               $0.00
       Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
       court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 42    PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children under 18. Enter the total average monthly expenses that you
       actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or
 43    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR                             $0.00
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
 44    IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

 45    Charitable contributions. Enter the amount reasonably necessary for you to expend each month on                          $0.00
       charitable contributions in the form of cash or financial instruments to a charitable organization as defined
       in 26 U.S.C. § 170(c)(1)-(2). DO NOT INCLUDE ANY AMOUNT IN EXCESS OF 15% OF YOUR GROSS
       MONTHLY INCOME.

 46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                            $210.62




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                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
 47    page. Enter the total of the Average Monthly Payments on Line 47.

                     Name of Creditor              Property Securing the Debt           Average         Does payment
                                                                                        Monthly         include taxes
                                                                                        Payment         or insurance?
         a.   Rushmore Loan Management Services
                                         56 Ridge
                                                LLC
                                                  Ave, Phoenixville, PA 19460$1,908.00                     yes     no
         b.                                                                                                yes     no
         c.                                                                                                yes     no
                                                                                    Total: Add
                                                                                    Lines a, b and c                      $1,908.00

       Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 47, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
 48    foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.

                       Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c          $0.00

       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 49    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy            $12.53
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 33.
       Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
       resulting administrative expense.
         a.   Projected average monthly chapter 13 plan payment.                                               $13.68
         b.   Current multiplier for your district as determined under schedules
 50           issued by the Executive Office for United States Trustees. (This                                    8.4 %
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b        $1.15

 51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                         $1,921.68
                                             Subpart D: Total Deductions from Income
 52    Total of all deductions from income. Enter the total of Lines 38, 46 and 51.                                       $7,752.06


                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
 53    Total current monthly income. Enter the amount from Line 20.                                                       $7,277.96
       Support income. Enter the monthly average of any child support payments, foster care payments, or
 54    disability payments for a dependent child, reported in Part I, that you received in accordance with
       applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.




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       Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
 55    wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                                                                                  $195.77
       repayments of loans from retirement plans, as specified in § 362(b)(19).

 56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                      $7,752.06
       Deduction for special circumstances.
       If there are special circumstances that justify additional expenses for which there is no reasonable
       alternative, describe the special circumstances and the resulting expenses in lines a-c below. If
       necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57.
       YOU MUST PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF THESE EXPENSES AND YOU
       MUST PROVIDE A DETAILED EXPLANATION OF THE SPECIAL CIRCUMSTANCES THAT MAKE SUCH
 57    EXPENSES NECESSARY AND REASONABLE.

              Nature of special circumstances                                             Amount of expense

         a.

         b.

         c.

                                                                                          Total: Add Lines a, b, and c              $0.00

       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
 58
       enter the result.                                                                                                      $7,947.83
 59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                      ($669.87)



                                           Part VI: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.

                                              Expense Description                                                Monthly Amount
 60
         a.

         b.

         c.

                                                                         Total: Add Lines a, b, and c                             $0.00

                                                       Part VII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)


               Date: 9/15/2014                              Signature:     /s/ David L Granacher
 61
                                                                           David L Granacher

               Date: 9/15/2014                              Signature:     /s/ Linda C Granacher
                                                                           Linda C Granacher




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